     Case: 1:18-cv-03326 Document #: 43 Filed: 07/09/19 Page 1 of 1 PageID #:244

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

Larry Cherry
                                                        Plaintiff,
v.                                                                      Case No.:
                                                                        1:18−cv−03326
                                                                        Honorable Edmond
                                                                        E. Chang
Five Brothers Mortgage Company Services and
Securing Inc.
                                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 9, 2019:


       MINUTE entry before the Honorable Edmond E. Chang:The early motion [34] for
summary judgment remains under advisement. Status hearing of 07/11/2019 is reset to
09/04/2019 at 10:00 AM.Emailed notice(slb, )




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